
ORDER ON MANDATE
PER CURIAM.
WHEREAS, the judgment of this court was entered on June 10, 1975 (313 So.2d 772) affirming the summary final judgment of the circuit court of Dade County, Florida, in the above styled cause; and
WHEREAS, on review of this court’s judgment, by certiorari, the Supreme Court of Florida by its opinion and judgment filed June 9, 1976 (336 So.2d 1170) and mandate now lodged in this court, quashed this court’s judgment;
NOW, THEREFORE, It is Ordered that the mandate of this court heretofore issued in this cause on June 26,1975 is withdrawn, the judgment of this court filed June 10, 1975 is vacated and the said opinion and judgment of the Supreme Court of Florida is herewith made the opinion and judgment of this court, the summary final judgment of the trial court appealed herein is reversed and the cause is remanded for further proceedings consistent with the opinion and judgment of the Supreme Court of Florida. Costs allowed shall be taxed in the trial court (Rule 3.16 b, F.A.R.).
